     Case 2:25-cv-00197-JCZ-DPC   Document 227-32   Filed 06/17/25    Page 1 of 1




                  UNITED STATES DISTRICT COURT

                   EASTERN DISTRICT OF LOUISIANA




HIRAN RODRIGUEZ,                              CIVIL ACTION NO. 2:25-cv-00197

PLAINTIFF                                     SECTION A

                                              JUDGE JAY C. ZAINEY

V.

                                               DIVISION 2

META PLATFORMS, INC., ETAL.                    MAGISTRATE JUDGE

DEFENDANTS                                     DONNA P. CURRAULT




                                               JURY TRIAL DEMANDED



            MOTION TO SUPPLEMENT THE RECORD


         (Pursuant to Fed. R. App. P. 10(e) & Rule 60(b)(6))




                                                            RECEIUEB
                                                       O.S.»ISTl!GTGOyBT '
                                                      E^^STERH■DISII^ICT OF LA
                                                        2@25 JUM17 Pl*5i2 @4
                                                      CAROL L.HIGHEL. CLERK
